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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  EASTERN DIVISION

  ROBERT S. STEWART, JR.,                          )
                                                   )
         Petitioner,                               )
                                                   )
  v.                                               )   Case No.: 1:22-cv-00294-MHH-JHE
                                                   )
  WARDEN SEAN SNIDER,                              )
                                                   )
          Respondent.                              )
                                                   )

                            REPORT AND RECOMMENDATION

        Petitioner Robert S. Stewart, Jr. (“Stewart” or “Petitioner”) filed a petition for a writ of

habeas corpus pursuant to 28 U.S.C. § 2241, seeking an order directing the Bureau of Prisons

(“BOP”) to apply First Step Act (“FSA”) Earned Time Credits (“ETC”) toward his remaining

home confinement term. (Doc. 1). Because Stewart’s challenge to the BOP’s calculation of credits

is a challenge to the execution of his sentence, the petition is properly brought as a petition for a

writ of habeas corpus pursuant to 28 U.S.C. § 2241 in the district court for the district in which

Stewart is in custody. See United States v. Kinsey, 393 F. App’x 663, 664 (11th Cir. 2010) (per

curiam) (noting that § 2241 “is the appropriate means by which an inmate may challenge the

[BOP’s] calculation and execution of his sentence”) (citing Bishop v. Reno, 210 F.3d 1295, 1304

n.14 (11th Cir. 2000)). The petition was referred to the undersigned pursuant to 28 U.S.C. § 636(b)

for preliminary review. Upon consideration, the undersigned recommends Respondent’s Motion

to Dismiss (doc. 11) be DENIED.           The undersigned further recommends the petition be

GRANTED to the extent described below.

                                  I. Relevant Facts and Claims

        Stewart is a federal inmate currently on home confinement within this district. (Doc. 1).
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On June 16, 2021, the United States District Court for the Eastern District of Virginia sentenced

Stewart to a 21-month term of imprisonment for False Statements, Wire Fraud, and Theft of

Government Funds. (Doc. 11-1 at ¶ 5; doc. 11-3). The Sentencing Court ordered Stewart to

voluntarily surrender to his designated facility as directed by the BOP. (Doc. 11-3.). On July 28,

2021, Stewart voluntarily surrendered to the Federal Correctional Institution (“FCI”) Talladega

Satellite Camp to commence his federal sentence. (Doc. 11-1 at ¶ 6). According to Respondent,

Stewart’s current projected First Step Act (“FSA”) release date is October 20, 2022. (Id. at ¶ 18;

doc. 11-2). Since February 2022, Stewart has been in the BOP’s custody on home confinement.

(Doc. 11-6).

       Stewart requests the Court order the BOP to apply 15 days of ETC for each 30 days of his

confinement between January and April 2022 based on his completion of nine Evidence-Based

Recidivism Reduction (“EBBR”) courses. (Docs. 1, 6, & 7).

       Specifically, Stewart contends he is entitled to ETC of 15 days per month, multiplied by 9

months, which is 135 days of FSA ETC. (Doc. 14 at 14). According to Stewart, the BOP has only

granted him 75 days; thus, his projected release date of October 20, 2022, should be August 19,

2022, to include the additional 60 days. (Id.; see also doc. 7 at 3, 4). Additionally, Stewart requests

the Court order the BOP to apply projected ETC for the months of May and June 2022, which

would move his projected release date to July 19, 2022. (Doc. 7 at 4).

                                      II. Procedural History

       On April 29, 2022, Respondent filed a response to Stewart’s petition seeking to have the

petition summarily dismissed without an evidentiary hearing. (Doc. 11). That same day, the

undersigned entered an order informing Stewart of his right to file affidavits or other materials in

opposition to the response and of the possible consequences of not responding. (Doc. 12). The



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undersigned further advised that, thereafter, the petition would be taken under advisement, and the

undersigned would enter a report and recommendation without further notice. (Id.). On May 2,

2022, the Court received a document from Stewart titled “Petitioner’s Reply Opposing Summary

Respondents’ Motion for Summary Judgment.” (Doc. 14). The petition is ripe for review.

                                            III. Analysis

   A. Exhaustion Requirement

       Generally, a federal prisoner must exhaust his administrative remedies before seeking

habeas relief in federal court under 28 U.S.C. § 2241. See Santiago-Lugo v. Warden, 785 F.3d 467,

475 (11th Cir. 2015) (quoting Skinner v. Wiley, 355 F.3d 1293, 1295 (11th Cir. 2004) (“‘We agree

with the reasoning of our sister circuits and hold that prisoners seeking habeas relief, including

relief pursuant to § 2241, are subject to administrative exhaustion requirements.’”). While

Santiago-Lugo altered Eleventh Circuit law to the effect that it “is no longer the law of this circuit

that exhaustion of administrative remedies is a jurisdictional requirement in a § 2241 proceeding,”

as the Court also held, “that does not mean that courts may disregard a failure to exhaust and grant

relief on the merits if the respondent properly asserts the defense.” Id. at 474–75. The Eleventh

Circuit further explained that “because exhaustion is non-jurisdictional, even when the defense has

been preserved and asserted by the respondent throughout the proceeding, a court may skip over

the exhaustion issue if it is easier to deny (not grant, of course, but deny) the petition on the merits

without reaching the exhaustion question.” Santiago-Lugo, 785 F.3d at 475.

       Simply put, “[t]he exhaustion requirement is still a requirement; it’s just not a jurisdictional

one.” Santiago-Lugo, 785 F.3d at 475. A petitioner who has failed to exhaust administrative

remedies will find his petition dismissed on those grounds. See, e.g., Villagran v. United States,

No. 7:18-CV-0101-LSC-JEO, 2020 WL 3022494, at *2 (N.D. Ala. May 13, 2020), report and



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recommendation adopted, No. 7:18-CV-00101-LSC-JEO, 2020 WL 3000964 (N.D. Ala. June 4,

2020). Moreover, a prisoner cannot satisfy the exhaustion requirement “by filing an untimely or

otherwise procedurally defective administrative grievance or appeal” because “proper exhaustion

of administrative remedies is necessary.” Woodford v. Ngo, 548 U.S. 81, 83–84 (2006). Exceptions

to this exhaustion requirement apply only in “‘extraordinary circumstances’” and the petitioner

“‘bears the burden of demonstrating the futility of administrative review.’” Jaimes v. United States,

168 F. App’x 356, 359 (11th Cir. 2006) (per curiam) (quoting Fuller v. Rich, 11 F.3d 61, 62 (5th

Cir. 1994) (per curiam)).

       “In order to properly exhaust administrative remedies, a petitioner must comply with an

agency’s deadlines and procedural rules. See Woodford, 548 U.S. at 90–91, (addressing the

exhaustion requirement in the Prison Litigation Reform Act).” Davis v. Warden, FCC Coleman-

USP I, 661 F. App’x 561, 562 (11th Cir. 2016) (some internal citations omitted). The BOP has a

four-step process for resolving complaints by prisoners. 28 C.F.R. § 542.10. Initially, a prisoner

must attempt to informally resolve the complaint with staff. Id. § 542.13(a). If informal attempts

are unsuccessful, the prisoner must submit a Request for Administrative Remedy to the warden.

Id. § 542.14. If the prisoner is unsatisfied with the warden’s response, he may appeal to the

Regional Director. Id. § 542.15. If still unsatisfied, the prisoner may appeal to the Office of General

Counsel within thirty days of the Regional Director’s response. Id.

       Here, Stewart acknowledges that he did not exhaust all available administrative remedy

requests before seeking relief under 28 U.S.C. § 2241. (See doc. 14 at 15). Instead, Stewart

contends he attempted to comply with the BOP’s administrative remedy process, but he was

released to home confinement before being able to submit the proper forms. (Doc. 14 at 14-15,

27-32; see also doc. 7 at 3). Stewart also argues that he attempted to follow the administrative



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remedy process, but that he did not get a timely response from the BOP and that continuing to wait

would “negatively impact[]” him. (Doc. 14 at 18-19).

       The Eleventh Circuit has suggested that exhaustion may be excused where ‘“requiring

resort to the administrative remedy may occasion undue prejudice to subsequent assertion of a

court action.’” Shorter v. Warden, 803 F. App’x 332, 336 (11th Cir. 2020) (quoting McCarthy v.

Madigan, 503 U.S. 140, 146–47 (1992)). This occurs when a petitioner can show ‘“irreparable

harm if unable to secure immediate judicial consideration of his claim.’” Id. (quoting McCarthy,

503 U.S. at 147).

       Stewart did not exhaust his administrative remedies. Nonetheless, considering Stewart’s

impending release date, balancing the interests favors promptly deciding the issues Stewart raises

over the institutional interests protected by the exhaustion defense.

   B. Merits of First Step Act Earned Credit Time Claim

           1. Authority to Calculate Sentences

       The Attorney General, through the BOP, administers inmate sentences. See 18 U.S.C. §

3621(a). The BOP has exclusive jurisdiction to determine sentence credits for inmates in the first

instance. “After a district court sentences a federal offender, the Attorney General, though the

BOP, has the responsibility for administering the sentence.” United States v. Wilson, 503 U.S.

329, 335 (1992). The BOP utilizes extensive policies in this administration. Stewart alleges that

the BOP improperly calculated his sentence; however, Respondent contends Stewart does not

establish that the BOP failed to follow its policies. (Doc. 11 at 6-7).

           2. Calculation of Stewart’s Sentence

       According to 18 U.S.C. § 3585(a), as referenced in the BOP Program Statement 5880.28,

Sentence Computation Manual (“CCCA of 1984”), a sentence to a term of imprisonment



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commences on the date the defendant is received in custody awaiting transportation to the official

detention facility where the sentence is to be served. On July 28, 2021, Stewart voluntarily

surrendered to FCI Talladega Satellite Camp to commence his federal sentence. (Doc. 11-1 at ¶

6; doc. 11-6). Thus, the BOP calculated Stewart’s federal sentence as commencing on July 28,

2021, the date he self-surrendered.

         The application of prior custody credit toward a federal sentence is governed by 18 U.S.C.

§ 3585(b), which states:

         (b) Credit for prior custody. – A defendant shall be given credit toward the service
         of a term of imprisonment for any time he has spent in official detention prior to
         the date the sentence commences—

                (1) as a result of the offense for which the sentence was imposed; or
                (2) as a result of any other charge for which the defendant was arrested after the
                commission of the offense for which the sentence was imposed;
                that has not been credited against another sentence.

18 U.S.C. § 3585(b) (emphasis added). Because the time Stewart spent in custody from February

3, 2021, through February 22, 2021, was not credited towards any other sentence, the BOP granted

Stewart 20 days of credit toward his federal sentence for this time period. (Doc. 11-1 at ¶ 12; doc.

11-2).

         According to the BOP Program Statement 5880.28, CCCA of 1984, the BOP applies good

conduct time (“GCT”) in accordance with 18 U.S.C. § 3624(b). The BOP has interpreted this

statute to apply GCT only for time served rather than the length of the sentence imposed. See

Barber, et al. v. Thomas, et al., 560 U.S. 474 (2010) (upholding this interpretation). Prior to the

FSA, the BOP would award 54 days of GCT for each year served. (Doc. 11-1 at ¶ 13). On

December 21, 2018, the President signed the First Step Act of 2018 into law. See FSA, Public

Law 115-391. Prior to the enactment of the FSA, GCT credit was applied only for time actually

served, rather than the length of the sentence imposed. The FSA amended 18 U.S.C. § 3624(b),

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to provide for the application of GCT credit “of up to 54 days for each year of the prisoner’s

sentence imposed by the court[,]” which is a change to the prior law. (Doc. 11-1 at ¶ 14; doc. 11-

9). The amendments to § 3624(b), took effect on July 19, 2019. The changes made to the GCT

earnings were made retroactive, but applicable only to sentences not yet satisfied as of July 19,

2019; therefore, any sentence satisfied prior to the effective date of the FSA is not eligible to

receive additional GCT credits. (Doc. 11-1 at ¶ 15; doc. 11-10).

       According to Respondent, Stewart is currently earning 54 days of GCT and projected to

earn a total of 94 days of good conduct time credit and has no disallowances. (Doc. 11-1 at ¶ 16;

doc. 11-10; doc. 11-11). Stewart does not dispute this calculation. (See doc. 14 at 2).

       Additionally, among several other reforming provisions, the FSA provides an incentive for

inmate participation in Evidence-Based Recidivism Reduction (“EBRR”) programming, such as

classes and productive activities. The FSA calls this incentive Earned Time Credits (“ETC” or

“ECT”). To earn these credits, inmates must complete 30 days of pre-approved, qualifying

programming, defined as EBRR courses and Productive Activities, to earn 10 days of ETC. This

ETC can either be applied to lengthen an inmate’s pre-release custody, such as home confinement

or half-way house placement, or be applied to early transfer to supervised release, i.e., early

satisfaction of the inmate’s sentence. To further qualify, inmates must be classified with a Prisoner

Assessment Tool Targeting Estimated Risk and Need (“PATTERN”) risk score of “low” or

“minimum.”

       Under 18 U.S.C. § 3632, the United States Department of Justice (“DOJ”) was required to

“publish[] the risk and needs assessment system on July 19, 2019.” Hand v. Barr, No. 1:20-cv-

348, 2021 WL 392445, at *2 (E.D. Cal. Feb. 4, 2021) (citing Press Release, U.S. Dep’t of Justice,

Department of Justice Announces the Release of 3,100 Inmates Under First Step Act, Publishes



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Risk And Needs Assessment System (July 19, 2019), https://www.justice.gov/opa/pr/department-

justice-announces-release-3100-inmates-under-first-step-act-publishes-risk-and).

       With respect to implementation of the risk and needs assessment system, 18 U.S.C. §

3621(h) provides:

       (1) In general.--Not later than 180 days after the Attorney General completes and
       releases the risk and needs assessment system (referred to in this subsection as the
       “System”) developed under subchapter D, the Director of the Bureau of Prisons
       shall, in accordance with that subchapter--

               (A) implement and complete the initial intake risk and needs assessment for
       each prisoner (including for each prisoner who was a prisoner prior to the effective
       date of this subsection), regardless of the prisoner’s length of imposed term of
       imprisonment, and begin to assign prisoners to appropriate evidence-based
       recidivism reduction programs based on that determination;
               (B) begin to expand the effective evidence-based recidivism reduction
       programs and productive activities it offers and add any new evidence-based
       recidivism reduction programs and productive activities necessary to effectively
       implement the System; and
               (C) begin to implement the other risk and needs assessment tools necessary
       to effectively implement the System over time, while prisoners are participating in
       and completing the effective evidence-based recidivism reduction programs and
       productive activities.

       (2) Phase-in.--In order to carry out paragraph (1), so that every prisoner has the
       opportunity to participate in and complete the type and amount of evidence-based
       recidivism reduction programs or productive activities they need, and be reassessed
       for recidivism risk as necessary to effectively implement the System, the Bureau of
       Prisons shall--
               (A) provide such evidence-based recidivism reduction programs and
       productive activities for all prisoners before the date that is 2 years after the date on
       which the Bureau of Prisons completes a risk and needs assessment for each
       prisoner under paragraph (1)(A); and
               (B) develop and validate the risk and needs assessment tool to be used in
       the reassessments of risk of recidivism, while prisoners are participating in and
       completing evidence-based recidivism reduction programs and productive
       activities.

18 U.S.C. § 3621(h)(1)–(2); see also Hand, 2021 WL 392445, at *2.

       Under 18 U.S.C. § 3621(h)(1), “all inmates in the BOP system received an initial

assessment using the risk and needs assessment system known as the Prisoner Assessment Tool

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Targeting Estimated Risk and Need (‘PATTERN’) by January 15, 2020.” Hand, 2021 WL

392445, at *3 (citing Press Release, U.S. Dep’t of Justice, Department of Justice Announces

Enhancements to the Risk Assessment System and Updates on First Step Act Implementation (Jan.

15,   2020),     https://www.justice.gov/opa/pr/department-justice-announces-enhancements-risk-

assessment-system-and-updates-first-step-act). Those inmates who successfully “complete[ ]

evidence-based recidivism reduction programming or productive activities . . . shall earn 10 days

of time credits for every 30 days of successful participation.’” 18 U.S.C. § 3632(d)(4)(A). As the

FSA provides, an inmate who is found “to be at a minimum or low risk for recidivating, who, over

2 consecutive assessments, has not increased their risk of recidivism, shall earn an additional 5

days of time credits for every 30 days of successful participation in evidence-based recidivism

reduction programming or productive activities.” Id. § 3632(d)(4)(A)(ii).

         The FSA specifically states that a “prisoner may not earn time credits under this paragraph

for an evidence-based recidivism reduction program that the prisoner successfully completed prior

to the date of enactment of this subchapter.” Id. § 3632(d)(4)(B). The BOP’s website states that

“‘FSA Time Credits (FTC) may only be earned for completion of assigned evidence-based

recidivism reduction programs or productive activities authorized by BOP and successfully

completed on or after January 15, 2020.’” Federal Bureau of Prisons, First Step Act – Frequently

Asked Questions, https://www.bop.gov/inmates/fsa/faq.jsp#fsa_time_credits (last visited May 5,

2022).

         “The [First Step Act] provides that by January 15, 2020, BOP ‘implement and complete

the initial intake risk and needs assessment for each prisoner, begin to assign prisoners to

appropriate evidence-based recidivism reduction programs based on that determination, and begin

to expand the effective evidence-based recidivism reduction programs and productive activities it



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offers.’” PATTERN at 5 (quoting 18 U.S.C. §§ 3621(h)(1)(A)–(B)). “‘In order to carry out [18

U.S.C. § 3621(h)(1)], so that every prisoner has the opportunity to participate in and complete the

type and amount of evidence-based recidivism reduction programs or productive activities they

need,’ BOP shall ‘provide such evidence-based recidivism reduction programs and productive

activities for all prisoners before the date that is 2 years after the date on which the Bureau of

Prisons completes a risk and needs assessment for each prisoner under paragraph (1)(A).’” Id.

(quoting 18 U.S.C. § 3621(h)(2)(A)). As a result, the FSA gives the BOP “two years—until

January 15, 2022 . . . to ‘phase-in’ the evidence-based recidivism reduction programs and

productive activities for all prisoners.” Id. (quoting 18 U.S.C. § 3621(h)(2)(A)).

        On January 13, 2022, the DOJ announced that the BOP had finalized the FSA time credit

rule and transmitted it to the Federal Register for publication. (Doc. 11-14 at ¶ 7). The final rule

was published on January 19, 2022. (Id.). This final rule explains the BOP procedures regarding

implementation of the specific provisions, including those related to the earning and application

of FSA time credits. (Id.). The BOP has already begun implementing the FSA final rule and will

continue to do so on a rolling basis. (Id. at ¶ 8). The BOP has already begun applying FSA time

credits. (Id.). As of January 31, 2022, thousands of inmates have already been released to

community custody, with hundreds more expected to be released to community supervision within

30 days. (Id.). It is anticipated that in the months to come, thousands more will be eligible for

release. (Id.).

        On January 12, 2022, the BOP established interim procedures to ensure timely

implementation of the FSA final rule. (Doc. 11-14 at ¶ 9). Interim procedures were established to

prioritize inmates eligible for immediate benefit in terms of release or pre-release community

placement. (Id.). According to Respondent, these interim procedures will remain in effect during



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this initial period and will continue pending the completion of an auto-calculation application to

the BOP’s real-time information system (known as SENTRY) and full integration between

SENTRY and the BOP’s case management system (known as INSIGHT). (Id.). Respondent

assures the Court that, during the initial period and beyond, the BOP’s focus and attention is on

ensuring the accurate calculation and application of FSA time credits. (Id. at ¶ 10).

       For purposes of FSA time credit calculations, Respondent asserts that the BOP is in the

process of creating and implementing an application to fully automate calculation so that the BOP

Office of Research and Evaluation (“ORE”) will no longer have to manually calculate time credits

for each inmate. (Doc. 11-14 at ¶ 11). The BOP expects to “go live” with this application in the

coming months. (Id.). Currently, to ease the burden on staff, the BOP decided to set certain cutoff

dates for manual FSA time credit calculation. (Id. at ¶ 12). Once an inmate’s time credit is

calculated, it will not be recalculated again until implementation of the automated computation

system. (Id.).

       Under these interim procedures, the BOP is calculating credit based on the total number of

days in the inmate’s designated facility divided by 30 days (one-month average) and multiplied by

15 (the allowable credit for inmates with Low or Minimum risk levels). (Doc. 11-14 at ¶ 13).

BOP uses the date an inmate arrives at his/her initial designated facility or the FSA enactment date

in December 2018, whichever is later, as the start date for calculation purposes. (Id. at ¶ 14). Batch

data is available monthly and is extracted on the last Saturday of the last full week of the month.

(Id.). Beginning on December 25, 2021, monthly data sets of inmates, who are within 24 months

of their statutory release date were extracted and their FSA time credits were calculated. (Id.).

       Due to his impending statutory release date, the BOP grouped Stewart in the initial batch

of calculations with a cutoff date of December 25, 2021. (Doc. 11-14 at ¶ 15). Respondent admits



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that, originally, the BOP incorrectly calculated Stewart’s FSA credits to be 61 days. (Doc. 11-14

at ¶ 4; doc. 11-15). However, the BOP conducted a new calculation, which resulted in Stewart

receiving 75 days of FSA credit. (Doc. 11-14 at ¶ 4; doc. 11-16).

       The start date for Stewart’s FSA calculations is July 28, 2021, the date he arrived at his

designated institution. (Doc. 11-14 at ¶ 15). He remained at his designated institution, and in good

standing between July 28, 2021, and December 25, 2021. (Id.). Thus, he had a total of 150 days

of eligible time. (Id.). Using the interim procedures, the FSA calculation was performed as

follows: 150 (Stewart’s eligible days) ÷ by 30 days (one month average) x 15 (allowable credit for

inmates like Stewart with Low or Minimum risk levels) = 75. (Id.; doc. 11-16). Accordingly,

Stewart earned 75 days of FSA credit for the time he served from July 28, 2021, through December

25, 2021. (Doc. 11-14 at ¶ 15; doc. 11-16).

       To date, ORE has not recalculated Stewart’s FSA ETC calculations to reflect credit for the

past four months (approximately January – April) despite his eligibility to earn them. (Doc. 11-14

at ¶ 16). Like many other similarly situated BOP inmates, Stewart’s FSA time calculations are

governed by the interim guidance. (Id.). At this time, the BOP does not intend to recalculate FSA

time credits for inmates that have already been reviewed, until implementation of the automated

system. (Id.). As stated above, once the automated system is up and running Stewart’s FSA credits

will be updated to include any additional FSA credit that he is entitled to, that have not already

been included in this initial calculation. (Id.). According to Respondent, the BOP Office of

Information Technology (“OIT”) is working diligently to implement the automated system. (Id. at

¶ 17). Although it is unclear when exactly the system will go live, OIT is in the final stages of

software testing and could potentially go live within the next 90 days, or approximately early

August 2022, barring any unforeseen circumstances. (Id.).



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       The BOP does not calculate time credits based on future projected days. (Doc. 11-14 at ¶

18). Credit is earned as it accumulates. (Id.). This is because an inmate does not earn time credit

for days in custody if they refuse to participate in certain programs or are placed in the Special

Housing Unit, (id.), and it is possible Stewart may not earn time credits in the future. Thus,

Stewart’s request that the Court order the BOP to apply projected FSA ETC to his sentence for

May and June 2022, which he has not yet earned (doc. 7 at 4), is due to be denied.

       Respondent contends that the constantly evolving FSA rules and regulations have required

the BOP to use its discretion in how and when to calculate FSA credits for all BOP inmates,

including Stewart. (Doc. 11 at 17). The BOP has calculated Stewart’s FSA ETC and awarded

him 94 days of GCT and 75 FSA days for the time he served from July 28, 2021 through December

25, 2021. Once the new system “goes live,” Respondent contends that Stewart, just like every other

inmate who was in the batch with a cutoff date of December 25, 2021, will have his FSA credits

updated automatically and be awarded any credits for the time period after December 25, 2021.

(Doc. 11 at 17).

       While there does not appear to be anything inherently wrong with the BOP’s interim

guidance, its application to inmates like Stewart, who are nearing the end of their custody term

causes concern. Based only on the credits applied to Stewart’s sentence as of December 25, 2021,

the BOP calculates his projected release date as October 20, 2022. (Doc. 11-1 at ¶ 18; doc. 11-14

at ¶ 6). According to Stewart, applying 60 days for ETC earned between the BOP’s last calculation

on December 25, 2021 and April 28, 2022 moves his projected release date to August 2022. (Doc.

7 at 3, 4; doc. 14 at 14, 24). If correct, requiring Stewart to wait until August 2022, or longer, to

receive credits for time earned after December 25, 2021 could likely prejudice him by depriving




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him of credits he has earned. 1 As Respondent states, it is unclear when the automated system will

be up and running. While it could be within the next 90 days, that is not guaranteed, and

Respondent even hedges this statement with the caveat “absent unforeseen circumstances.” (See

doc. 14 at 16-17). Thus, the assertion that Stewart will receive these credits within the next couple

months, i.e., in time for them to impact the remainder of his sentence, is speculative.

       Respondent does not expressly dispute that Stewart has earned additional ETC between

BOP’s last calculation on December 25, 2021, and April 28, 2022, which could result in an earlier

release date. (Doc. 11 at 16). If Stewart has indeed earned additional credits during his time, then

they should be awarded to him and reflected in his sentence. Additionally, because of the

uncertainly of the automated system’s implementation and Stewart’s approaching release date, it

is necessary for BOP to reevaluate the application of Stewart’s credits at regular intervals, not to

exceed every 60 days.

                                      IV. Recommendation

       Based on the foregoing, the undersigned RECOMMENDS the Respondent’s Motion to

Dismiss (doc. 11) be DENIED. The undersigned FURTHER RECOMMENDS the petition for

a writ of habeas corpus be GRANTED, and the BOP be ordered to award Stewart any credit earned

between the BOP’s December 25, 2021 calculation and April 28, 2022; and the BOP be further

ordered to reevaluate Stewart’s earned credit time at regular intervals not to exceed every 60 days

until the implementation of the automated system.




1
  Stewart’s claim seeking credits against his sentence will not be rendered moot by his release.
After his release from home confinement, he will transition to supervised release, which is part of
his sentence and involves some restrictions upon his liberty. See Shorter v. Warden, 803 F. App’x
332, 335 (11th Cir. 2020) (citations omitted).
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                                    V. Notice of Right to Object

        Any party may file specific written objections to this report and recommendation. A party

must file any objections with the Clerk of Court within fourteen (14) calendar days from the date

the report and recommendation is entered. Objections should specifically identify all findings of

fact and recommendations to which objection is made and the specific basis for objecting.

Objections also should specifically identify all claims contained in the complaint that the report

and recommendation fails to address. Objections should not contain new allegations, present

additional evidence, or repeat legal arguments. An objecting party must serve a copy of its

objections on each other party to this action.

        Failing to object to factual and legal conclusions contained in the magistrate judge’s

findings or recommendations waives the right to challenge on appeal those same conclusions

adopted in the district court’s order. In the absence of a proper objection, however, the court may

review on appeal for plain error the unobjected to factual and legal conclusions if necessary in the

interests of justice. 11th Cir. R. 3-1.

        On receipt of objections, a United States District Judge will review de novo those portions

of the report and recommendation to which specific objection is made and may accept, reject, or

modify in whole or in part, the undersigned’s findings of fact and recommendations. The district

judge must conduct a hearing if required by law. Otherwise, the district judge may exercise

discretion to conduct a hearing or otherwise receive additional evidence. Alternately, the district

judge may consider the record developed before the magistrate judge, making an independent

determination on the basis of that record. The district judge also may refer this action back to the

undersigned with instructions for further proceedings.

        A party may not appeal the magistrate judge’s report and recommendation directly to the



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United States Court of Appeals for the Eleventh Circuit. A party may only appeal from a final

judgment entered by a district judge.

       DONE this 10th day of May, 2022.



                                          _______________________________
                                          JOHN H. ENGLAND, III
                                          UNITED STATES MAGISTRATE JUDGE




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